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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                      )
                                               )
                               Plaintiff,      )
                                               )
               vs.                             )       CRIMINAL NO. 19-CR-30075-SMY
                                               )
ANDRE KING,                                    )
                                               )
                               Defendant.      )

                                   STIPULATION OF FACTS

       Steven D. Weinhoeft, United States Attorney for the Southern District of Illinois, and Laura V.

Reppert, Assistant United States Attorney for said District, herewith enter into the following Stipulation

of Facts with Defendant:

Count I

       On or about May 28, 2018, around 11:00 p.m., Defendant and a male juvenile with initials T.B.

committed a carjacking in St. Louis, Missouri. Specifically, Defendant and T.B. approached a female,

C.C., who had been sitting in her grey 2004 Ford Escape in the area of 14th Street and Chouteau Avenue

in St. Louis, Missouri. T.B. brandished a large firearm, entered the front passenger side of her vehicle,

and demanded that C.C. drive. During this time, Defendant entered the rear right side of the vehicle and

instructed C.C. to make a U-turn. C.C. was told to park down the street and both Defendant and T.B.

demanded money. C.C. was allowed to exit the Escape, and then T.B. entered the driver's seat. T.B.

drove off and they drove the stolen vehicle in to Illinois.

Count 2

       Around 12:20 a.m. on May 29, 2018, Defendant and T.B. arrived at Circle K gas station, located

at 8300 Old St. Louis Road, Belleville, Illinois. Defendant and T.B. pulled up to the gas station in the

stolen Ford Escape, had covered their faces, and attempted to enter the Circle K. When they found that
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the doors to the business were locked, they returned to the Ford Escape, and left. Circle K gas station

was engaged in the retail sale of food, beverages, and gasoline in interstate commerce and an industry

which affected interstate commerce.

Counts 3 & 4

       Around 2 a.m. on May 29, 2018, Defendant and T.B. arrived at 7-Eleven Convenience Store

located at 1151 Niedringhaus Avenue, Granite City, Illinois, in the stolen Ford Escape. T.B. was

wearing a grey Chicago Bulls T-shirt; Defendant was wearing a red shirt. Both entered the 7-Eleven.

Defendant brandished a revolver, jumped over the counter, and ordered the clerk to open both registers.

T.B. brandished a long rifle, and ordered the customers in the store to the ground. After Defendant

grabbed U.S. currency from the cash register and the clerk's wallet, both Defendant and T.B. left the

store. 7-Eleven Convenience Store was engaged in the retail sale of food, beverages, and periodicals in

interstate commerce and an industry which affected interstate commerce.

Counts 5 & 6

       Around 4 a.m. on May 29, 2018, Defendant and T.B. arrived at Circle K gas station located at

5904 Old St. Louis Rd., Belleville, Illinois, in the stolen Ford Escape. Defendant and T.B. ran up on the

store clerk, who was outside smoking a cigarette, and ordered him back in the store and to "give them all

the money." T.B. brandished a long rifle and Defendant brandished a revolver. Defendant and T.B. took

U.S. currency and five packages of Tropical Fusion Swisher Sweets brand cigarillos and fled the store.

Circle K gas station was engaged in the retail sale of food, beverages, and gasoline in interstate

commerce and an industry which affected interstate commerce.

       Around 2 p.m. on May 29, 2018, the East St. Louis Police Department located the stolen Ford

Escape abandoned on Glass Street in East St. Louis. Officers located a package of Tropical Fusion

Swisher Sweets in the vehicle.



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Count 7

        On or about May 31, 2018, at approximately 4:30 p.m., Defendant and T.B. committed a

carjacking in St. Louis, Missouri. Specifically, Defendant and T.B. approached R.W., who was pumping

gas in to his 2003 Chevrolet Trailblazer at the B.P. gas station on the comer of 14th Street and Chouteau

Avenue in St. Louis, Missouri. Defendant approached R.W. and asked him ifhe "had any weed." T.B.

then approached R.W., pointed a revolver at him, and ordered him out of his vehicle. Defendant entered

the driver's side door, T.B. entered the rear driver's side door, and Defendant drove off.

        Around 11:20 p.m. that night, officers from the East St. Louis Police Department spotted the

stolen Trailblazer in the 500 block of North 24th Street in East St. Louis. The vehicle then fled from

police. Officers pursued the vehicle as it disregarded various traffic control devices and eventually

ended up on Highway 64 going westbound in the eastbound lanes. Officers pursued the car across the

Martin Luther King Bridge on to Highway 70 in St. Louis, Missouri. The vehicle ended up crashing and

after a short foot pursuit, Defendant and T.B. were apprehended.

        Following subsequent investigation, law enforcement personnel recovered the two firearms used

in the above named crimes: a Marlin Glenfield Model 60 .22 caliber rifle and a Colt .38 caliber revolver.

                                                     UNITED STATES OF AMERICA,

                                                     STEVEN D. WEINHOEFT
                                                     United States Attorney




Defendant

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G.ETHANSKA
Attorney for Defeµdant

Date:     I 1-- { Z-- { (   1                        Date: _______I _~_/_\°\....a.......L../....:....1_____
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